Search Warrant Record #1
Search Warrant
(with redactions)
Original © Duplicate Original

AQ 93C (08/18) Warrant by Telephone or Other Retiable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of )

(Briefly describe the property to be searched )
or identifi the person by name and address) ) Case No,

)

)

)

5914 North Tampa Street, Tampa, FL 33604
8:23MJ1541 SPF

WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the Middle District of Florida

(identify the person or describe the property to be searched and give its location}:

See Attachment A.

1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal fidentifv dhe person or describe the property io be seized):

See Attachment B.

(OU ARE COMMANDED to execute this warrant on or before SH G/ goad (not to exceed 14 days)
in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to The Honorable Sean P. Flynn
(United States Magistrate Judge)

O Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized tcheck the appropriate box)

CO for days (nor to exceed 30) +11 _until, the facts justifying, the later specific date of

fn
Date and time issued: $/4/a0d3 at a:'13 pro 4 fd

CS Judge's signature

City and state: Tampa, FL Sean P, Flynn, U.S. Magistrate Judge

Prinied name ane title
AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

Return

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name(s) of any person(s) seized:

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

Executing officer’s signature

Printed name and title

Attachment A
ATTACHMENT A
Description of Premises to Be Searched

The Target Location is known as 5914 North Tampa Street, Tampa, FL 33604 and is
identified as follows:

The Target Location is a one-story single-family home that is pink in color with a
brown shingle roof and stucco exterior. The front of the Target Location faces east
toward North Tampa Street and has several white and pink columns which support
the covered porch and carport, located to the north side of the Target Location. A
mailbox at the end of the driveway bears the number “5914”. An unattached
secondary suite exists on the property to the rear, or west, of the Target Location,
facing east. This secondary suite is also colored pink, with siding, a white roof, and a
teal front door.

The Target Location includes any vehicles, trailers, sheds, and other buildings on the
curtilage of the property. The Target Location is located within the City of Tampa,

which is in the Middle District of Florida.
Attachment B
ATTACHMENT B
Particular Things to be Seized

All records and other evidence relating to violations of 18 U.S.C. § 1030
(intentional unauthorized access of a computer), and 18 U.S.C. § 2511 (intentional
interception and disclosure of wire, oral, or electronic communication) (collectively,
the “Criminal Conduct”), those violations involving Timothy Burke and occurring
after August 1, 2022, including:

1, Any books, records, or ledgers associated with items or services sold to or
received from companies, or individuals associated with said companies,
involved in posting or hosting electronic streaming content.

2. Hard copy and/or electronic records of contacts and exchanges (including
drafts and final versions, and any related subparts) with companies, or
individuals associated with said companies, involved in posting or hosting
electronic streaming content.

3. Evidence reflecting payment in any form, including cash, checks, wire
transfers, online payment service, ACH transfer, and/or cryptocurrency (to
include hardware wallet(s) and pass phrase(s)) from companies, or individuals
associated with said companies, involved in posting or hosting electronic
streaming content.

4. Computers, storage media, cell phones, smart phones (including the smart

phones associated with telephone number a. used as a means to
commit the Criminal Conduct described above, including downloading
confidential materials without authorization in violation of 18 U.S.C. §
1030(a)(2).

. For any computer or storage medium whose seizure is otherwise authorized
by this warrant, and any computer or storage medium that contains or in
which is stored records or information that is otherwise called for by this
warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were created, edited, or
deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and
correspondence;

b. evidence of software that would allow others to control the
COMPUTER, such as viruses, Trojan horses, and other forms of
malicious software, as well as evidence of the presence or absence of
security software designed to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used
to determine the chronological context of computer access, use, and

events relating to crime under investigation and to the computer user;
. evidence indicating the computer user’s state of mind as it relates to the
crime under investigation;

evidence of the attachment to the COMPUTER of other storage devices
or similar containers for electronic evidence;

. evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the COMPUTER;

. evidence of the times the COMPUTER was used;

passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;

documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the
COMPUTER;

. records of or information about Internet Protocol addresses used by the
COMPUTER;

records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of useretyped web
addresses;

. contextual information necessary to understand the evidence described

in this attachment.
6. Routers, modems, and network equipment used to connect computers to the

Internet.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as writing);
any mechanical form (such as printing or typing); and any photographic form (such
as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook computers,
mobile phones, tablets, server computers, and network hardware.

The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy disks,
flash memory, CD-ROMs, and other magnetic or optical media.

During the execution of the search of the Subject Premises described in
Attachment A, law enforcement personnel are authorized to: (1) press or swipe the
fingers (including thumbs) of any individual, who is found at the subject premises
and reasonably believed by law enforcement to be a user of a device found at the
premises, to the fingerprint scanner of the device; or (2) hold a device found at the

premises in front of the face those same individuals and activate the facial
recognition feature, for the purpose of attempting to unlock the device in order to
search the contents as authorized by this warrant.

This warrant authorizes a review of electronic storage media and
electronically stored information seized or copied pursuant to this warrant in order to
locate evidence, fruits, and instrumentalities described in this warrant. The review of
this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant
to this warrant, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
Search Warrant Record #2
Search Warrant Application
(with redactions)
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of

(Briefly describe the praperty to be searched
or identify the person by name and address)

)

)

) Case No
5914 North Tampa Street, Tampa, FL 33604

)

8:23N1541 SPF

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
Property to be searched and give tts location}:

See Attachment A.
located in the Middle =——_s«éD istrict of Florida > there is now concealed (identifi: the
person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R. Crim. P, 41(c) is (check one or more):
i evidence of a crime;
oo contraband, fruits of crime, or other items illegally possessed;
af properly designed for use, intended for use, or used in committing a crime;
CJ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 1030 intentional unauthorized access of a computer
18 U.S.C. § 2511 intentional interception and disclosure of wire, oral, or electronic communication

The application is based on these facts:

See attached affidavit.

& Continued on the attached sheet.

O Delayed notice of _. , days (give exact ending date if more than 30 days: . _ j) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Applicant's signature

Special Agent FBI
rived same and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

Telephone (specify reliable electronic means).
ON eit
dae: 3/4/4023 PP
Judge's ature
City and state: Tampa, FL _Sean P. Flynn, U.S. Magistrate Judge

Printed name and ti:le
ATTACHMENT A
Description of Premises to Be Searched

The Target Location is known as 5914 North Tampa Street, Tampa, FL 33604 and is
identified as follows:

The Target Location is a one-story single-family home that is pink in color with a
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toward North Tampa Street and has several white and pink columns which support
the covered porch and carport, located to the north side of the Target Location. A
mailbox at the end of the driveway bears the number “5914”. An unattached
secondary suite exists on the property to the rear, or west, of the Target Location,
facing east. This secondary suite is also colored pink, with siding, a white roof, anda
teal front door.

The Target Location includes any vehicles, trailers, sheds, and other buildings on the
curtilage of the property. The Target Location is located within the City of Tampa,

which is in the Middle District of Florida.
ATTACHMENT B
Particular Things to be Seized

All records and other evidence relating to violations of 18 U.S.C. § 1030
(intentional unauthorized access of a computer), and 18 U.S.C. § 2511 (intentional
interception and disclosure of wire, oral, or electronic communication) (collectively,
the “Criminal Conduct”), those violations involving Timothy Burke and occurring
after August 1, 2022, including:

1. Any books, records, or ledgers associated with items or services sold to or
received from companies, or individuals associated with said companies,
involved in posting or hosting electronic streaming content.

2. Hard copy and/or electronic records of contacts and exchanges (including
drafts and final versions, and any related subparts) with companies, or
individuals associated with said companies, involved in posting or hosting
electronic streaming content.

3. Evidence reflecting payment in any form, including cash, checks, wire
transfers, online payment service, ACH transfer, and/or cryptocurrency (to
include hardware wallet(s) and pass phrase(s)) from companies, or individuals
associated with said companies, involved in posting or hosting electronic
streaming content.

4, Computers, storage media, cell phones, smart phones (including the smart

phones associated with telephone number ae. used as a means to
commit the Criminal Conduct described above, including downloading
confidential materials without authorization in violation of 18 U.S.C. §
1030(a)(2).

. For any computer or storage medium whose seizure is otherwise authorized
by this warrant, and any computer or storage medium that contains or in
which is stored records or information that is otherwise called for by this
warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were created, edited, or
deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and
correspondence;

b. evidence of software that would allow others to control the
COMPUTER, such as viruses, Trojan horses, and other forms of
malicious software, as well as evidence of the presence or absence of
security software designed to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used
to determine the chronological context of computer access, use, and

events relating to crime under investigation and to the computer user;
. evidence indicating the computer user’s state of mind as it relates to the
crime under investigation;

evidence of the attachment to the COMPUTER of other storage devices
or similar containers for electronic evidence;

. evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the COMPUTER;

. evidence of the times the COMPUTER was used;

passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;

documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the
COMPUTER;

. records of or information about Internet Protocol addresses used by the
COMPUTER;

records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web
addresses;

. contextual information necessary to understand the evidence described

in this attachment.
6. Routers, modems, and network equipment used to connect computers to the

Internet.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as writing);
any mechanical form (such as printing or typing); and any photographic form (such
as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook computers,
mobile phones, tablets, server computers, and network hardware.

The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy disks,
flash memory, CD-ROMs, and other magnetic or optical media.

During the execution of the search of the Subject Premises described in
Attachment A, law enforcement personnel are authorized to: (1) press or swipe the
fingers (including thumbs) of any individual, who is found at the subject premises
and reasonably believed by law enforcement to be a user of a device found at the
premises, to the fingerprint scanner of the device; or (2) hold a device found at the

premises in front of the face those same individuals and activate the facial
recognition feature, for the purpose of attempting to unlock the device in order to
search the contents as authorized by this warrant.

This warrant authorizes a review of electronic storage media and
electronically stored information seized or copied pursuant to this warrant in order to
locate evidence, fruits, and instrumentalities described in this warrant. The review of
this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant
to this warrant, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
Search Warrant Record #3
Motion to Seal Search Warrant
Related Records
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

IN THE MATTER OF THE SEARCH OF:
CASE NO.
PREMISES LOCATED AT:
5914 North Tampa Street 8 : 2 3 Mi J 1 5 4 1 SPF
Tampa, FL 33604
IN CAMERA

MOTION TO SEAL APPLICATION FOR SEARCH WARRANT,
WARRANT AND AFFIDAVIT FOR SEARCH WARRANT

The United States of America, by Roger B. Handberg, United States Attorney
for the Middle District of Florida, respectfully moves this Court to seal the (1)
Application for Search Warrant, (2) Warrant, (3) Affidavit for Search Warrant in this
matter, and (4) this Motion to Seal, and in support thereof says as follows:

Disclosure of the contents of the affidavit may cause the subjects to flee,
destroy evidence, disclose facts that could jeopardize an ongoing criminal
investigation, and cause witnesses named in the affidavit to be subject to possible
harassment or retaliation from individuals who are the subjects of the investigation

or who have an interest therein.
WHEREFORE, the United States respectfully moves the Court to seal (1)
Application for Search Warrant, (2) Warrant, (3) Affidavit for Search Warrant in this
matter, and (4) this Motion to Seal until further order of the Court.

Respectfully submitted,

United Stgtes Attorney

Tampa, Florida 33602-4798
Telephone: (813) 274-6000
Facsimile: (813) 274-6358
E-mail: jay.trezevant@usdoj.gov
Search Warrant Record #4
Order Regarding Motion to Seal
Search Warrant Related Records
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

IN THE MATTER OF THE SEARCH OF:
CASE NO.

PREMISES LOCATED AT:
f S$
Tampe FL 33608 8:23NJ1541 SPF

IN CAMERA ORDER

Upon the written motion of the United States of America to seal the (1)
Application for Search Warrant, (2) Warrant, (3) Affidavit for Search Warrant in this
matter, and (4) Motion to Seal:

The Court finds that the interests of justice require that the Application for
Search Warrant, Warrant, Affidavit for Search Warrant in this matter, and Motion
be sealed; therefore

IT IS ORDERED that the Motion to Seal is Granted:

IT IS FURTHER ORDERED that the (1) Application for Search Warrant, (2)
Warrant, (3) Affidavit for Search Warrant in this matter, and (4) Motion to Seal be

fot One ytar.
sealed by the Clerk of the Court unti-furthertirderefthe-Court;
DONE AND ORDERED at TAMPA, Florida this Yay of May, 2023.
AFA
SEAN P. (a
United States Magistrate Judge

Copy to: AUSA Jay G. Trezevant
Search Warrant Record #5
Search Warrant Return
(with redactions)
AQ YRC (08/18) Warrant by Telephone or Other Rehable Electronic Means a Original cy Duplicate Original

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of
(Briefly describe the property to he searched
or identify the person by name and address)

)

)

) Case No.
5914 North Tampa Street, Tampa, FL 33604 }

)

)

8:23MJ15 41 SPF
WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located inthe | Middie_ Districtof Florida

fidentify the person or describe the property ty be searched and give its location?:

See Attachment A.

I find that the affidavit(s). or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal tidentifi the person or deseribe the property ta he seized):

See Attachment B.

OU ARE COMMANDED to execute this warrant on or before _ SH §/joad (not ta exceed 14 days)
in the daytime 6:00 a.m. to 10:00 p.m. (J) at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below. you must give a copy of the warrant and a receipt for the property taken to the
person from whom. or from whose premises. the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to The Honorable Sean P. Flyno
(United States Magistrate Judge

J Pursuant to 18 U.S.C. § 3103a(b). | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property. will be searched or seized check te appropriate boxy

Cl for days taut to exceed 30, (7 until, the facts justifying, the later specific date of

ee
Date and time issued: 5/4/4043 at 2:93 yn A 7.

Jncdae 'K Signaiure

City and state: . Tampa, Fu _ Sean P. Flynn, U.S. Magistrate Judge _

Printed name ard tithe

AO 93C€ (08/18) Warrant by Telephone or Other Reliable Electronic Means {Page 2)

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
S:23MT 154 SRF Wry 8 2022 O6tonms| err ont Rerenany THOR

Inventory made in the presence of :

Inventory of the property taken and name(s) of any person(s) seized:

Sez AMAWEA EyQenice CONLETEA ITEM Loo

: he PEACONE mA
SRI2eA. 4

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: S$ /23 /2e22

Executing officer's signature

PELUAL AGENT

Printed name and title

FD-886 (Rev. 4-13-46)

EVIDENCE COLLECTED ITEM LOG

Print Legibly. More than one line may be used for each item, if necessary.

Page 1 of 2

Date: 5/8/2023 Case 1D: Eo Personnel (full names and initials):
Location: 5914 N Tampa St, Tampa, FL 33604
Praparer/Assistants:
‘item # Description Locatlon Specific Collected by/ Packaging Commants :
(e.g., One black Samsung flip phone; Serial #) {e.g., Room) Location Observed by Method {if needed)
(e.g. Specific area w/in room) (First Name and Lost Name})
|... J,One (i). gray 4Phone:on dresser... ae aE oo /SOU4.N Tampa.St.fampa,Fl. . . +. _[Anthstatle .[.Placed inairplane mode...
33604
2 One (1) gray Apple laptop, Model A2681, Serlal D 5914 N Tampa St, Tampa, FL Anti-static
number FDK2WQY91Y with charging cable on coffee 33604
table
3 ‘{ One (4) gray Apple laptop, Model A1278, Serial J 5914 N Tampa St, Tampa, FL Anti-static
number CIMH3DJ9DV13 with power cord, on desk 33604
4 One (1] gray Macbook Air, Model A466, Sertal J 5914 N Tampa St, Tampa, FL Anti-static
number CO2MMOSNFLCG with power cord on desk 33604
5 One (1) gray Apple laptop Serlal number J 5914 N Tampa St, Tampa, FL Anti-static
W8019987AGZ with power cord on table 33604
6 One (1} black rackmount PC on table J 5914 N Tampa St, Tampa, FL Antstatic | Side panel missing
33604
7 One (1} black rackmount PC on table J 5914 N Tampa St, Tampa, FL Antl-static
33604
8g One {1} white computer tower an floor J 5914 N Tampa St, Tampa, FL Antl-static
33604
3 One (1) gray Apple laptop, Model A1369, Serial J §914.N Tampa St, Tampa, FL Antl-static
number CO2GKSS6DJWT on floor 33604 ‘
10 One (1} gray Lacie external hard drive on server rack J 5914 N Tampa St, Tampa, FL Anti-static
33604 .
12 One (1} gray Apple laptop, Model A1708, Serial J 5914 N Tampa St, Tampa, FL Anthstatic | Screen daes not work
number CO2ZV94BZHV22 with charging cord on the left 33604

FD-B86 (Rev. 4-13-15)

EVIDENCE COLLECTED ITEM LOG

Print Legibly. More than one line may be used for each item, if necessary.

Page 2 of 2

Anti-static

Paper One (1) black-cover
notebook, one (4) red-
cover splral notebook,
one (1) green-cover spiral
notebook

Paper One (1) blue-cover spiral

notebook

Anti-stat

“Photographed as Item.13

Antl-static

All powerad off

Antstatic

Antl-static

Anti-static

Anti-static

Anti-static

side of desk
14 One (1) black PC tower on floor J 5914.N Tampa St, Tampa, FL
33604
15 Three (3) notebooks from bookshelf J 5914 N Tampa St, Tampa, FL
33604
is One (1) notebook from kitchen counter K 5914 N Tampa-St, Tampa, FL
33604
“One'(1} Cracial'solid state drive Serial number
2136E5CF45C8 from server rack
18 One (1) Apple iPhone Model A1387, white; one (1) J 5914 N Tampa St, Tampa, FL
: Apple iPhone Model A1660, black: one-(1).Apple 33604
_iphoné, Model.A1660, silver ~All on desk
19 One (1) black ORICO external hard drive with power J 5914 N Taripa St, Tampa, FL
card-under desk 33604.
20 One (2) back ASUS PC Serial number CCPDCGoo19WwM | 7 - 5914.N Tampa St, Tampa, FL
from floor under table 933604
24 One (1) Crucial solid state drive in black enclosure J 5914 N Tampa St, Tampa, FL
Seria! 2039£48257CF with USB cable on the desk 33604
22 One (1) Crucial solid state drive Serial number J 5914-N Tampa St, Tampa, FL.
2151£5F56D90 on bookshelf 33604
23 | One (1) black mini PC S/N 2239E66E7B from desk J 5914 N Tampa St, Tampa, FL "
33604
24 One (1) black Hitachi 500GB hard drive S/N i ‘3914 'N Tampa St, Tampa, FL
80G3XZLCwith two cords an top of 8 33604
DEL One (1) PNY 64G8 USB3 gray ltem 8 5914 N Tampa St, Tampa, FL
33604

Antl-static

Anti-statle

CS created copy of signal
chats and videos

ATTACHMENT A

Description of Premises to Be Searched
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mailbox at the end of the driveway bears the number “591d”. An unattached
secondary suite exists on the property to the rear, or west, of the Target Location,
facing east. This secondary suite is also colored pink, with siding, a white roof, and a
teal front door.
The Target Location includes any vehicles, trailers, sheds, and other buildings on the
curtilage of the property. The Target Location is located within the City of Tampa,

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ATTACHMENT B Q
Particular Things to be Seized Q

All records and other evidence relating to violations of 18 U.S.C. § 1030
(intentional unauthorized access of a computer), and 18 U.S.C. § 2511 (intentional
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2. Hard copy and/or electronic records of contacts and exchanges (including
drafts and final versions, and any related subparts) with companies, or
individuals associated with said companies, involved in posting or hosting
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3. Evidence reflecting payment in any form, including cash, checks, wire
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associated with said companies, involved in posting or hosting electronic
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4. Computers, storage media, cell phones, smart phones (including the smart

phones associated with telephone number. used as a means to
commit the Criminal Conduct described above, including downloading
confidential materials without authorization in violation of 18 U.S.C. §
1030(a)(2).

. For any computer or storage medium whose seizure is otherwise authorized
by this warrant, and any computer or storage medium that contains or in
which is stored records or information that is otherwise called for by this
warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were éreated, edited, or
deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging jogs, photographs, and
correspondence; :

b. evidence of software that would allow others to control the
COMPUTER, such as viruses, Trojan horses, and other forms of
malicious software, as well as evidence of the presence or absence of
security software designed to detect malicious software;

c. evidence of the lack of such malicious software:

d. evidence indicating how and when the computer was accessed or used
to determine the chronological context of computer access, use, and

events relating to crime under investigation and to the computer user;
. evidence indicating the computer user’s state of mind as it relates to the
crime under investigation; !
evidence of the attachment to the COMPUTER of other storage devices
or similar containers for electronic evidence;
. evidence of counter-forensic programs (and aséociated data) that are
designed to eliminate data from the COMPUTER;
. evidence of the times the COMPUTER was used:
passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;
documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the
COMPUTER; i
. records of or information about Internet Protocol addresses used by the
COMPUTER;
records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history. and cookies,
“bookmarked” or “favorite” web pages, search terms that the user

:
entered into any Internet search engine, and records of user-typed web
addresses;
. contextual information necessary to understand the evidence described

in this attachment.
6. Routers, modems, and network equipment used to connect computers to the

Internet.

As used above, the terms “records” and “information? includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as writing);
any mechanical form (such as printing or typing); and any photographic form (such
as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or

photocopies).

The term “computer” includes all types of electroni : agnetic, optical,
electrochemical, or other high speed data processing: devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook computers,
mobile phones, tablets, server computers, and network hardware.

The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard. disks, RAM, floppy disks,
flash memory, CD-ROMs, and other magnetic or optical media.

During the execution of the search of the Subject Premises described in
Attachment A, law enforcement personnel are authorized to: (1) press or swipe the
fingers (including thumbs) of any individual, who is found at the subject premises
and reasonably believed by law enforcement to be a user of a device found at the
premises, to the fingerprint scanner of the device; or (2) hold a device found at the

premises in front of the face those same individuals and activate the facial
recognition feature, for the purpose of attempting to. unloc ‘the device in order to
search the contents as authorized by this warrant.

This warrant authorizes a review of electronic storage media and
electronically stored information seized or copied pursuant to this warrant in order to
locate evidence, fruits, and instrumentalities described.in thi warrant, The review of
this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement Officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant
to this warrant, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
